           Case 1:17-cv-00913-ESH Document 17 Filed 10/17/17 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
OLEG V. DERIPASKA,                                 )
                                                   )
          Plaintiff,                               )
                                                   )
v.                                                 )          Civil Action No. 17-00913 (ESH)
                                                   )
THE ASSOCIATED PRESS,                              )
                                                   )
          Defendant.                               )
                                                   )

                                           ORDER

         For the reasons set forth in the accompanying Memorandum Opinion, ECF No. 18, it is

hereby

         ORDERED that defendant’s Motion to Dismiss Under Federal Rule of Civil Procedure

12(b)(6), ECF No. 6, is GRANTED; and it is further

         ORDERED that the above-captioned case is DISMISSED.



                                                       /s/ Ellen Segal Huvelle
                                                       ELLEN SEGAL HUVELLE
                                                       United States District Judge

 Date: October 17, 2017
